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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :
TIFFANY SAIDNIA,                                          :
                                                          :
                                        Plaintiff,        :
                                                          :              21-CV-7792 (VSB)
                           -against-                      :
                                                          :                    ORDER
NIMBUS MINING LLC, et al.,                                :
                                                          :
                                         Defendants. :
--------------------------------------------------------- X



VERNON S. BRODERICK, United States District Judge:

        The Clerk of the Court has entered a Certificate of Default in this matter. (Doc. 75.)

Plaintiff is directed to my Individual Rule 4.H governing default judgments and ORDERED to

take action in this case within thirty (30) days.

SO ORDERED.

Dated: December 26, 2023
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
